Case 2:16-cr-00396-MCA Document 44 Filed 04/23/19 Page 1 of 2 PageID: 106




                        UNITED STATES DISTRICT COURT
                           DISTRICT OP NEW JERSEY


 UNITED STATES OF AMERICA                     Hon. Madeline Cox .Arleo

       v.                               :     Crim. No. 16-396

 TING XUE
  a/k/a “Tiffany Xue”                         CONTINUANCE ORDER


       This matter having come before the Court on the joint application of

 Craig Carpenito, United States Attorney for the District of New Jersey (by Sarah

 Devlin, Assistant United States Attorney), and Thig Xue (by Philip Kautnan,

 Esq4, for an order granting a continuance of the proceedings in the above-

 captioned matter through April 9, 2019, and the defendant being aware that

 the defendant has the right to have the matter submitted for trial within 70

 days of the filing of an indictment, pursuant to Title 18, United States Code,

 Section 316 1(c)(1), and the defendant having, through the defendant’s attorney,

 consented to this continuance; and for good and sufficient cause shown,

       IT IS THE FINDING OF THIS COURT that this action should be

 continued for the following reasons:

       (1) The parties have requested the aforementioned continuance in order

 to allow additional time to review voluminous discovery materials in advance of

 trial, as well as to engage in additional plea negotiations;

       (2) The grant of a continuance will likely conserve judicial resources; and
Case 2:16-cr-00396-MCA Document 44 Filed 04/23/19 Page 2 of 2 PageID: 107




       (3) Pursuant to Title 18, United States Code, Section 3161(h)(7), the ends

 ofjustice served by granting the continuance outweigh the best interests of the

 public and the defendant in a speedy trial.

       WHEREFORE, it is on thist.                      2019;

       ORDERED that this action be, and it          is, continued from February

 9, 2019 through April 9, 2019; and it is further

       ORDERED that the period from February 9,2019 through April 9, 2019,

 shall be excludable in computing time under the Speedy Trial Act of 1974.




                                      HONoRABLE MADELINE COX ARLEO
                                      United States District Judge


 Form and entry consented to by:


    /‘{AA-              ½/
 SARAH DEVLIN




 Counsel for Ting Xue




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